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WALMART-MART STORES, INC.

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Upiter St giro Texas
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IN THE UNITED STATES DISRICT COURT SEP 2 Al
SOUTHERN DISTRICT OF TEXAS any, let
HOUSTON DIVISION Michael N. Milby,
BRIDGET ARAGON § IN THE DISTRICT COURT
Plaintiff, §
S Liye
V. § oF V2) prcraL DISTRICT
§
§

Defendant.

case:

§ OF HARRIS COUNTY, TEXAS

PLAINTIFF ARAGON’S CERTIFICATE OF INTERESTED PARTIES

Wal-Mart Stores, Inc.

702 Southwest 8" St.
Bentonville, Arkansas, 72716
479-273-4000

Wal-Mart Store is a corporation

Bridget Aragon

c/o Mario Caballero
10109 Hammerly
Houston, Tx. 77080
713-468-1111

Mario Caballero, Atty.
Atty. for Aragon
10109 Hammerly
Houston, Tx. 77080
Phone 713-468-1111
Fax 713-468-1118

John A. Ramirez

Atty. for Wal-Mart Stores

24 Greenway Plaza, Ste. 1700
Houston, TX. 77046

Phone 713-626-1555

Fax 713-622-8077

Plaintiff Aragon hereby declares the following persons or entities have an interest in the instant
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Respectfully submitted,

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Mario Caballero, Atty.
SBN 03568900

10109 Hammerly
Houston, Tx. 77080
Texas Bar No. 03568900
Phone 713-468-1111

Fax 713-468-1118

Atty. for Bridget Aragon

CERTIFICATE OF SERVICE
I certify that on September 24, 2004, a true and correct copy of Plaintiff's Certificate of

Interested Parties was served by certified mail, return receipt requested on John Ramirez at 24
Greenway Plaza, Suite 1700, Houston, Tx. 77046..

NMNMod bal

Mario Caballero, Atty.

 
